          Case 4:19-cv-04279 Document 7 Filed on 11/26/19 in TXSD Page 1 of 4




                               IN THE UNITED STATES DISTRICT COURT
                               FOR THE SOUTHERN DISTRICT OF TEXAS
                                        HOUSTON DIVISION

JEAN PRENTISS,                                              §
                                                            §
           Plaintiff,                                       §
                                                            §
v.                                                          §        Civil Action No. 4:19-cv-4279
                                                            §
PHH MORTGAGE CORPORATION,                                   §
                                                            §
           Defendant.                                       §

                            DEFENDANT’S REPLY IN SUPPORT OF ITS
                              RULE 12(B)(6) MOTION TO DISMISS

           Defendant, PHH Mortgage Corporation (“Defendant” or “PHH”), files this Reply1 in

Support of its Rule 12(b)(6) Motion to Dismiss (Doc. No. 5). Defendant respectfully shows the

following in support:

     I.    The Court Should Dismiss Plaintiff’s Texas Property Code Chapter 51 Claims and
           Her Claim for Wrongful Foreclosure.

           1.       Plaintiff provides no citation in her Response to Defendant’s Rule 12(b)(6)

Motion to Dismiss and Brief in Support (“Response”) to any authority for her argument why her

Texas Property Code Chapter 51 claims or her wrongful foreclosure claim should not be

dismissed. See Doc. No. 6, at p. 5. Instead, she says she seeks to conduct discovery. Id.

Discovery, however, will not help salvage her claim for an alleged violation of Texas Property

Code section 51.002 or her claim for wrongful foreclosure as both claims cannot proceed given

that Plaintiff does not even claim that a foreclosure sale was completed or that Plaintiff lost

possession of the subject property. Doc. No. 5, at pp. 12-14 (no private right of action under

Texas Property Code chapter 51; no claim for wrongful foreclosure without a foreclosure and



1
    Defendant incorporates its Rule 12(b)(6) Motion to Dismiss into this Reply. Doc. No. 5.


DEFENDANT’S REPLY ISO RULE 12 (B)(6) MOTION TO DISMISS                                        PAGE 1 OF 4
          Case 4:19-cv-04279 Document 7 Filed on 11/26/19 in TXSD Page 2 of 4




loss of possession of the property); Doc. No. 6, at p. 2 (claiming that a foreclosure was

“attempted,” but not alleging that a foreclosure sale was completed).

    II.   The Court should dismiss Plaintiff’s Texas Debt Collection Act claims under
          sections 392.304(a)(8), 392.304(a)(14), and 392.304(a)(19).

          2.      Plaintiff does not make any attempt to support her claims under sections

392.304(a)(8), 392.304(a)(14), or 392.304(a)(19) with citation to authority or by reference to her

Petition. Doc. No. 6, at p. 5 (solely arguing that her claim under section 392.301(a)(8) 2 should

survive). As a result, she has abandoned or waived these claims, and the Court should grant

Defendant’s Motion to Dismiss as to these claims. E.g., Black v. N. Panola Sch. Dist., 461 F.3d

584, 588 n.1 (5th Cir. 2006) (plaintiff abandoned claim by failing to address them in response to

a motion to dismiss).

          3.      As to Plaintiff’s section 392.304(a)(8) claim, Defendant stands by its argument in

its Motion to Dismiss. Doc. No. 5, at pp. 14-16.

III.      The Court should dismiss Plaintiff’s breach of contract claim.

          4.      Plaintiff, in her Response, entirely fails to argue or reference factual allegations in

her Petition to show she has sufficiently pleaded proximate causation, which is an essential

element of a breach of contract claim. Doc. No. 5, at p. 12 (arguing that Plaintiff’s breach of

contract claim fails because she fails to allege proximate causation).                     As Plaintiff has not

addressed proximate causation at all in her Response and has not show that somehow her

damages are the proximate result of PHH’s alleged failure to conduct or attempt to conduct a

HUD face-to-face meeting, the Court should dismiss Plaintiff’s breach of contract claim. Id.




2
  Section 391.301(a)(8) prohibits a debt collector from using “threats, coercion, or attempts to coerce” that involve
“threatening to take an action prohibited by law.” TEX. FIN. CODE § 392.301(a)(8). Plaintiff solely argues that PHH
threatened to take an action prohibited by law in her response. Doc. No. 6, at p. 5.


DEFENDANT’S REPLY ISO RULE 12 (B)(6) MOTION TO DISMISS                                       PAGE 2 OF 4
       Case 4:19-cv-04279 Document 7 Filed on 11/26/19 in TXSD Page 3 of 4




        5.     As to remainder of Plaintiff’s breach of contract claim, Defendant stands by its

argument in its Motion to Dismiss. Doc. No. 5, at pp. 8-12.

IV.     The Court should dismiss Plaintiff’s request for injunctive relief.

        6.     Plaintiff entirely failed to address Defendant’s argument that her request for

injunctive relief should be dismissed. See generally Doc. No. 6. Plaintiff has thus abandoned or

waived this claim. E.g., Black, 461 F.3d at 588 n.1 (plaintiff abandoned claim by failing to

address them in response to a motion to dismiss).


                                        CONCLUSION
        For the reasons stated above and those stated in Defendant’s Motion to Dismiss (Doc.

No. 5), Defendant respectfully request that this Court dismiss all of Plaintiff’s claims with

prejudice and further grant all other relief, at law or in equity, which Defendant may be so

entitled.

                                                Respectfully Submitted,

                                                /s/ Charles R. Curran
                                                J. Garth Fennegan
                                                Texas Bar I.D. 24004642
                                                Southern District No. 22521
                                                gfennegan@settlepou.com
                                                Charles R. Curran
                                                Texas Bar I.D. 24076334
                                                Southern District No. 1241722
                                                ccurran@settlepou.com
                                                SETTLEPOU
                                                3333 Lee Parkway, Eighth Floor
                                                Dallas, Texas 75219
                                                (214) 520-3300
                                                (214) 526-4145 (Facsimile)
                                                ATTORNEYS FOR DEFENDANT




DEFENDANT’S REPLY ISO RULE 12 (B)(6) MOTION TO DISMISS                        PAGE 3 OF 4
      Case 4:19-cv-04279 Document 7 Filed on 11/26/19 in TXSD Page 4 of 4




                            Certificate of Service

      I certify that this document was served in accordance with the Federal Rules of Civil
Procedure on November 26, 2019, by the manner indicated upon the following persons:

Via CM/ECF
Robert C. Vilt
Kerry Prisock
Vilt & Associates, P.C.
5177 Richmond Avenue, Suite 1142
Houston, Texas 77056

ATTORNEYS FOR PLAINTIFF

                                             /s/ Charles R. Curran
                                             Charles R. Curran




DEFENDANT’S REPLY ISO RULE 12 (B)(6) MOTION TO DISMISS                   PAGE 4 OF 4
